Order Form (01/2005)   Case: 1:09-cv-01649 Document #: 97 Filed: 01/17/12 Page 1 of 1 PageID #:1297

                               United States District Court, Northern District of Illinois

    Name of Assigned Judge           Sidney I. Schenkier        Sitting Judge if Other
       or Magistrate Judge                                       than Assigned Judge

   CASE NUMBER                           09 C 1649                          DATE                      1/17/2012
            CASE                                       Diaz vs. Elgin School District #U-46
            TITLE

  DOCKET ENTRY TEXT

  Pursuant to the parties' settlement, the case is dismissed without prejudice and without costs or fees, and with
  leave to seek reinstatement by 3/19/12 solely for the purpose of enforcing the settlement. If the case has not been
  reinstated by that date and there is no motion for reinstatement then pending, the dismissal shall be with prejudice
  as of 3/20/12.



                                                                                                               Docketing to mail notices.




                                                                                         Courtroom Deputy                   JJ
                                                                                                   Initials:




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